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                                          March 3, 2020


BY ECF
Honorable Edgardo Ramos
40 Foley Square
New York, New York 10007

       Re: Jane Does Nos. 1-10 v. Nygard et al., No. 20-cv-01288 (ER)

Dear Judge Ramos:

        This firm represents the Defendants in the referenced matter, and we write jointly on
behalf of both Plaintiffs and Defendants to request that the Court adjourn the pre-motion
conference that currently is scheduled for this Thursday, March 5, 2020, at 3:45 pm.
Additionally, Plaintiffs request that the Court set April 13, 2020, as their deadline to file an
amended complaint. This is the parties’ first request for an adjournment of the pre-motion
conference.

         On February 20, 2020, Defendants submitted a letter requesting a pre-motion conference
in anticipation of filing a motion to dismiss and to strike Plaintiffs’ initial complaint. Plaintiffs
submitted a letter in response on February 27, 2020, in which they represented that they intended
to file an amended complaint within 30 to 45 days. Defendants previously had informed
Plaintiffs that Defendants would not object to their filing an amended complaint within that time
frame.

         Because Plaintiffs intend to file an amended complaint, the parties respectfully submit
that it would be most efficient to defer the pre-motion conference until after Plaintiffs have filed
their amended complaint. Accordingly, the parties respectfully request that the Court adjourn the
pre-motion conference that currently is scheduled for March 5, 2020. Plaintiffs further
respectfully request that the Court set April 13, 2020, as their deadline to file an amended
complaint.
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                                                   Respectfully submitted,

                                                   /s/ Christopher B. Harwood

                                                   Christopher B. Harwood

Cc: Plaintiffs’ counsel (by ECF)



 The conference currently scheduled for March 5,
 2020 is cancelled. The deadline for filing an
 amended complaint is April 13, 2020.
                                                                       March 4, 2020


                      March 4, 2020
